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                                                                     #204
% A 0 245B      (Rev. 06105) Judgment in a Criminal Case
                Sheet I




                          SOUTHERN                                District of                                      ILLINOIS

           UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                                v.
                    KENNETH R. ABBY
                                                                         Case Number:            4:05CR40057-003-JLF

                                                                         USM Number: 06769-025
                                                                          Judith A. Kuenneke, FPD
                                                                         Defendant's Attorney
THE DEFENDANT:
dpleaded guilty to count(s)               1 of the Second Superseding Indictment.

     pleaded nolo contendere
                        dere to count(s)
     which was al:
               accepted by the court.
     was found guilty on count(s)
     after a plea of not guilty.                                                                                                     -Q

The defendant is adjudicated guilty of these offenses:

Title & Section
     us'$w:.
 2-1 ...
 &
 .       ...:
           ,
              : . : .,!
                                     Nature of Offense
                        . , ::+.i.*.:..
                                     i
                                                                                                             Offense Ended
                                                                                                               ,   . ..             .-
   . ..,
      '
                      ,
                                      ka                                                                                             . .<   .
                                         of a Mixture 8 Substance Containing Methamphetamine



       The defendant is sentenced as provided in pages 2 through              9             of this judgment. The sentence is imposed pursuant to
the Sentencing Refonn Act of 1984.
     The defendant has been found not guilty on count(s)
     Count(s)                                                is      are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for thls district w~thln30 da s of any chan e of name, residen
or mailing address until 311 fines, rcstltutlon, cosu, and special assessments lmposcd by this judgment are fuhy pa~d.lf ord6ercd to pay restitutio
thc defendant must norlfy the court and United States anomey of marenal changes in economlc clrcumrtanccs.

                                                                          411912006
                                                                         Date of I~os!&?"     of Judgment




                                                                          J. Phil Gilbert                                  District Judge
                                                                         Name of Judge                                    Title ofludgc
                                                                                    r
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A 0 245B       (Rev. 06105) Judgment in Criminal Case
               Sheet 2 - Imprisonmolt


 DEFENDANT: KENNETH R. ABBY
 CASE NUMBER: 4:05CR40057-003-JLF


                                                                IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:

  120 months on Count 1 of the Second Superseding Indictment.



      I$   The court makes the following recommendations to the Bureau of Prisons:

  That the defendant be placed in the Intensive Drug Treatment Program.



      Cj( The defendant is remanded to the custody of the United States Marshal.
           The defendant shall surrender to the United States Marshal for this district:
                 at                                      a.m.         p.m.      on
                 as notified by the United States Marshal.

           The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                 before 2 p.m. on

           0 as notified by the United States Marshal.
           0     as notified by the Probation or Prehial Services Office.


                                                                     RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                           to

 at                                                     , with a certified copy of this judgment.



                                                                                                       UNITED STATES MARSHAL


                                                                             BY
                                                                                                    DEPUTY UNITED STATES MARSHAL
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              Sheet 3 -Supervised Release
                                                                                                           Judgment--Page   3 of
DEFENDANT: KENNETH R. ABBY
                                                                                                                            -                   9

CASE NUMBER: 4:05CR40057-003-JLF
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term o f :

 8 years on Count 1 of the Second Superseding Indictment,



      The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from th
 custody of the Bureau of Pnsons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfull possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall su%mitto one drug test within 15 days of release from ~mprisonmentand at least two periodic drug tests
 thereafter, as deternuned by the court.
        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
 @ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation offlcee (Check, if applicable.)
        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this 'udgment imposes a fme or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule ofl~aymentssheet of this judgment.
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional condition
 on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
           the defendant shall not leave the judicial district without the permission of the court or probation off~cer;
           the defendant shall report to the probation officer and sball submit a huthful and complete written report within the fust five days o
           each month;
           the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
           the defendant shall support his or her dependents and meet other family responsibilities;
           the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or 0th
           acceptable reasons;
           the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
           the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or a-ister    any
           controlled substance or any paraphernalia related to any controlled substances, except as prescnbed by a physlclan;
           the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
           the defendant shall not associate with any persons en aged in criminal activity and shall not associate with any person convicted of
           felony, unless granted permission to do so by the profation officer;
  10)      the defcndant shall permit a prohation ofticcr to vlslt h ~ m
                                                                       or her at any time 31 home or elcewhcrc and shall permlt confiscation of an
           contraband obscncd in plain view of the prohat~onollicer,
 11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement office
 12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without th
           permission of the court; and
  13)      ;u directed by the  robation officer,the dcfcndant shall notlfy thlrd parties of rlsks that may bc occasloncd by the detendant's crlmin
           record or persona'I' history or character~sticsand shall pennit the probation officer to make such notificat~onsand to confirm th
           defendant s compliance wlth such notllicatlon requirement
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           Sheet 3C - Supervised Release
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DEFENDANT: KENNETH R. ABBY
CASE NIJMBER: 4:05CR40057-003-JLF

                                        SPECIAL CONDITIONS OF SUPERVISION
 The defendant shall cooperate in the collection of DNA as directed by the probation officer.

 X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
 commencement of the term of supervised release. The defendant shall pay the fine in installments of $10.00 or ten
 percent of his net monthly income, whichever is greater.

 X The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
 with access to any requested financial information. The defendant is advised that the probation office may share financial
 information with the Financial Litigation Unit.

 X The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, andlor any other
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
 immediately notify the probation officer of the receipt of any indicated monies.

 X The defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction, drug
 dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may require
 residence andlor participation in a residential treatment facility. Any participation will require complete abstinence from all
 alcoholic beverages. The defendant shall pay for the costs associated with substance abuve counseling andlor testing
 based on a co-pay sliding fee scale approved by the United States Probation Office. Co-pay shall never exceed the total
 costs of counseling.

 X The defendant shall submit his person, residence, real property, place of business, computer, or vehicle to a search,
 conducted by the United States Probation Officers at a reasonable time and in a reasonable manner, based upon
 reasonable suspicion of contraband or evidence of a violation of a condition of supervision. Failure to submit to a search
 may be grounds for revocation. The defendant shall inform any other residents that the premises may be subject to a
 search pursuant to this condition.

 X The defendant shall submit to one drug test within 15 days after being released on supervision and at least two periodic
 drutg tests thereafter, not to exceed 52 tests in a one year period.
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           (Rev. 06105) Judgmnt in a Criminal Case
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A 0 245B

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           Sheet 5 -Criminal


 DEFENDANT: KENNETH R.ABBY
                               Monetary Penalties
                                                                                                                                        9

 CASE NUMBER: 4:05CR40057-003-JCF
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                       Assessment                                       -
                                                                        Fine                                   Restitution
 TOTALS            $ 100.00                                          $ 100.00                                $ 0.00



     The determination of restitution is deferred until   -. An Amended Judgment in a Criminal Care(A0 245C) will be enter
     after such determination.

     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a pan~alpayment, each pa r e shall recelve an approximately ro onioned aymcnt, unless specified othenv~se
     the prlorlty order or percentage payment culumnLlow. Howcver, pursuant to 18
     bef6re the-United Stsites is paid.'
                                                                                              Qs.8.
                                                                                            $ 36640, all nonfederal vlct!ms must bc p


 Name of Pavee                                                           Total*                Restitution Ordered Prioritv or Percentaee




 TOTALS                               $                      0.00            $                        0.00


      Restitution amount ordered pursuant to plea agreement $

      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fme is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 5 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).

 @f The court determined that the defendant does not have the ability to pay interest and it is ordered that:
      @ the interest requirement is waived for the          @ fine           restitution.
           the interest requirement for the          fine           restitution is modified as follows:


 * Findingsfor the totalamount of losses arere uiredunder Chapters 109A, 110,11OA, and 113A ofTitle 18 for offenses committed on or aft
 September 13, 1994, but before April 23, 199%.
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A 0 245B   (Rev. 06105) Judgment in a Criminal Case              #209
           Sheet 6 -Schedule of Payments
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DEFENDANT: KENNETH R. ABBY
CASE NUMBER: 4:05CR40057-003-JLF

                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

 A    i$ Lump sum payment of $                               due immediately, balance due

                 not later than                                 , Or
                 in accordance                C,       D,         E, or         F below; or
B          Payment to begin immediately (may be combined with              C,          D, or        F below); or

 C         Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                      over a period of
                        (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or

 D         Payment inequal                     (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E          Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F    i$ Special instructions regarding the payment of criminal monetary penalties:
           The defendant shall make monthly payments in the amount of $10.00 or ten percent of his net monthly income,
           whichever is greater toward his fine.




 L'nless tbc coun has exprcssl ordercdothurw~se,ifth~s
 impriso-cnt.
                                                      judgment imposes imprisonment, a
                  All crlrmnar moneta penalues, except those payments m d c throueR
 Respons~hilityProgram, are nude to x c clerk ot thc coun
                                                                                               tcent ofur~nunalmonetary penaltlrs 1s due &nn
                                                                                                  ~edcralBureau of I'r~sons' I m t e Financi


The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



      Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




      The defendant shall pay the cost of prosecution.

      The defendant shall pay the following court cost(s):

      The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1 assessment, (2) restitution principal, (3) restitution interest, (4) fme principal,
( 5 ) fme interest, (6) community restitutio~(7) penahies, and (8) costs, including cost of prosecution and court costs.
